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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  MARK MCCORMICK, MATTHEW LOVE,
                                                           1:21-cv-09443-LTS-SLC
  ROBERT SNYDER, ALISON HEINTZ,
  WILLIAM RICE, and MARIA STRATAKIS,
                                                           ECF Case
  individually and on behalf of all other similarly
  situated individuals,

                 Plaintiffs,
          v.

  INTERNATIONAL BUSINESS
  MACHINES CORP.

                 Defendant.

      NOTICE OF INTERNATIONAL BUSINESS MACHINES CORPORATION’S
               MOTION FOR JUDGMENT ON THE PLEADINGS
        AS TO ARBITRATION OPT-INS AND TO COMPEL ARBITRATION

       Under Federal Rule of Civil Procedure 12(c), Defendant International Business Machines

Corporation (“IBM”) moves this Court to dismiss the ADEA claims of or compel to arbitration

the following 30 Opt-Ins who signed separation agreements with an individual arbitration clause

and a class and collective action waiver and are thus barred from participating in this action:

Christopher Baker, William Bello, Michael G. Branson, Joseph William Campion, David

Matthew Carr, Sanjiev Chattopadhya, Steven P. Durante, Peter Gichinga, Charles Gregory, Kyle

Hardy, Brian Edward Hurd, Gopalakrishnan Iyer, Joel Munson Johnson, Anatoly Kidder,

Sethuraman Kuruvimalai, Kay Louise Lundquist, Thomas J. Major, Jorge Manosalva, Gregory

Terry Moore, Mary Ann Moore, Herbert Pembleton, Sharon M. Saunders, Teresa Schoch,

Kristen Stewart, Stefania Timpano, Shaun W. Turner, Brett D. Wells, Dulith Wijewardene,

Nancy Ying, and Kathy A. Young.
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       IBM, through its undersigned counsel, certifies that it has used its best efforts to resolve

informally this matter prior to filing this motion, as required by Judge Swain’s Individual

Practice A.2.b. Plaintiffs have not amended the First Amended Class and Collective Action

Complaint in response to the arguments raised in this motion.




Dated: August 19, 2022
       New York, New York
                                               JONES DAY

                                               /s/ Kristina A. Yost
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